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                           I N THE UNITED STATES DISTRICT COURT'"
                          FOR THE NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA D I V I S I O N '  g
                                                                                      FEB 0 2 2017
 GERALD LYNN BOSTOCK,
                         Plaintiff
 V .                                                      C I V I L ACTION NO.
                                                          1:16-CV-1460-ODE-WEJ
 CLAYTON COUNTY,
                         Defendant


                                                    ORDER


         This     employment         discrimination            case     i s before         t h e Court       on

M a g i s t r a t e Judge W a l t e r E. Johnson's F i n a l R e p o r t a n d Recommendation

("R&R")         [Doc. 1 6 ] , P l a i n t i f f    Gerald       Lynn     Bostock's          ("Plaintiff")

Objections           [Doc. 1 8 ] ,          Defendant          Clayton        County's         ("Defendant")

Response i n O p p o s i t i o n        [Doc. 1 9 ] , a n d P l a i n t i f f ' s    reply      [Doc. 20] .

For t h e reasons s t a t e d below, P l a i n t i f f ' s             o b j e c t i o n s t o t h e R&R a r e

DEFERRED.

I.       Background^

        On    September         12, 2016, P l a i n t i f f          filed      h i s Second Amended

Complaint,          t h e o p e r a t i v e document       before       t h e Court,^        i n which       he

alleges v i o l a t i o n of Title            VII of the Civil             R i g h t s A c t o f 1964,         as

amended b y t h e C i v i l         R i g h t s A c t o f 1991,       42 U.S.C. § 2000e e t s e q .

( " T i t l e V I I " ) [Doc. 1 0 ] .       Plaintiff,         a g a y m a l e , began w o r k i n g        for

D e f e n d a n t o n o r a b o u t J a n u a r y 13, 2003.       D e f e n d a n t employed      Plaintiff



          ' p l a i n t i f f has o b j e c t e d o n l y t o t h e c o n c l u s i o n s o f l a w i n t h e R&R
and n o t t h e f i n d i n g s o f f a c t .             Therefore, t h efollowing facts are
a d o p t e d f r o m t h e R&R, u n l e s s o t h e r w i s e n o t e d .

     ^See Lowery v . A l a . Power Co., 483 F.3d 1184,                              1219-20 ( l l t h C i r .
2007) .
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as t h e C h i l d W e l f a r e S e r v i c e s C o o r d i n a t o r a s s i g n e d t o i t s J u v e n i l e

Court;       he h a d p r i m a r y r e s p o n s i b i l i t y     f o r t h e C l a y t o n County        Court

Appointed         S p e c i a l Advocate         ("CASA") p r o g r a m .         During h i s ten-year

career         with       Defendant,             Plaintiff           received        good        performance

evaluations            and t h e p r o g r a m      he managed           received       accolades.           For

example,         i n 2 0 07,      Georgia         CASA    awarded         Clayton       County       CASA i t s

Established            Program       Award        o f Excellence.                National         CASA       also

recognized P l a i n t i f f       f o r h i s p r o g r a m e x p a n s i o n e f f o r t s , and he s e r v e d

on i t s S t a n d a r d s and P o l i c y C o m m i t t e e i n o r a b o u t 2011-2012.

        B e g i n n i n g i n J a n u a r y 2013, P l a i n t i f f      became i n v o l v e d w i t h a g a y

recreational             softball            league,       the Hotlanta               Softball          League.

P l a i n t i f f a c t i v e l y p r o m o t e d C l a y t o n C o u n t y CASA t o l e a g u e members as

a good v o l u n t e e r o p p o r t u n i t y .       I n t h e subsequent           months,        Plaintiff

alleges         that      his participation                  i n t h e league           and h i s sexual

orientation            and i d e n t i t y     were      openly        criticized       b y one o r more

persons w i t h         significant          influence        on Defendant's d e c i s i o n - m a k i n g .

For    example,          i n May 2013, d u r i n g            a meeting         with      the Friends o f

C l a y t o n County       CASA A d v i s o r y B o a r d     a t which P l a i n t i f f ' s      supervisor

was p r e s e n t , P l a i n t i f f    alleges         that     a t least       one i n d i v i d u a l    made

disparaging           comments a b o u t h i s s e x u a l o r i e n t a t i o n a n d i d e n t i t y a n d

p a r t i c i p a t i o n i n t h e league.

        In    o r around A p r i l           2013, D e f e n d a n t     advised P l a i n t i f f     that i t

w o u l d be c o n d u c t i n g an i n t e r n a l a u d i t o n t h e CASA p r o g r a m f u n d s t h a t

he    managed.            Plaintiff          contends        that      he engaged         i n no i m p r o p e r

c o n d u c t as t o f u n d s u n d e r h i s c u s t o d y o r c o n t r o l and t h a t t h i s          audit

was     a    pretext        f o rdiscrimination.                    On    o r about        June      3,     2 013,

Defendant t e r m i n a t e d P l a i n t i f f ,      a l l e g e d l y f o r c o n d u c t u n b e c o m i n g one



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o f i t s employees.             P l a i n t i f f a l l e g e s t h a t t h i s r e a s o n was p r e t e x t f o r

d i s c r i m i n a t i o n based on h i s s e x u a l o r i e n t a t i o n .

        On September 5, 2013, P l a i n t i f f f i l e d a Charge o f D i s c r i m i n a t i o n

w i t h t h e E q u a l Employment O p p o r t u n i t y                Commission          ("EEOC").         In that

document.         Plaintiff            checked          the       box    f o r sex       discrimination              and

stated:         " Ibelieve          I have been d i s c r i m i n a t e d a g a i n s t            because      of    my

sex    (male/sexual o r i e n t a t i o n ) "               [Doc.       14-1].

        On May      5, 2016, P l a i n t i f f p r o se f i l e d h i s i n i t i a l               Complaint i n

which      he    alleged        only       discrimination                based    on     sexual       orientation

[Doc. 1 ] . A f t e r s e c u r i n g            counsel. P l a i n t i f f      f i l e d h i s F i r s t Amended

Complaint         on A u g u s t      2,    2016       [Doc. 4] .          Plaintiff's            Second Amended

Complaint          was        the       first          to     explicitly              add        allegations         of

discrimination               for failure            t o conform t o a gender s t e r e o t y p e                  [Doc.

10].      On September 26, 2016, D e f e n d a n t f i l e d a m o t i o n t o d i s m i s s f o r

failure         t o state a claim                [Doc. 1 3 ] , t o w h i c h P l a i n t i f f      responded i n

opposition         on O c t o b e r        13,     2 016     [Doc.      14]   and D e f e n d a n t      r e p l i e d on

O c t o b e r 27, 2016         [Doc. 1 5 ] .

        On      November         3,     2016,         the     Magistrate          Judge          issued     his      R&R

recommending d i s m i s s a l w i t h p r e j u d i c e on t h r e e g r o u n d s : (1) T i t l e V I I

does     not      encompass           claims          of    sexual        orientation discrimination,

(2)    t h e Second Amended                  Complaint            contains       no    factual allegations

supporting           a       gender        stereotyping                 claim,     and       (3)      the       gender

s t e r e o t y p i n g c l a i m was n o t r e f e r e n c e d         in Plaintiff's           EEOC c h a r g e and

t h u s he f a i l e d      t o exhaust h i s a d m i n i s t r a t i v e remedies                 [Doc. 1 6 ] .      On

November         17,        2016,     Plaintiff            filed        objections          to    each     of    these

conclusions            of    law      [Doc.       1 8 ] , and       on December 1 , 2016,                  Defendant

responded         i n opposition                 to   Plaintiff's             objections          [Doc.      19];     on

December 15, 2016,                  Plaintiff         r e p l i e d [Doc. 2 0 ] .

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II.      Legal       Standard

         In     reviewing           an      R&R,     t h e Court           "shall        make       a    de      novo

d e t e r m i n a t i o n o f those p o r t i o n s o f t h e r e p o r t o r s p e c i f i e d           proposed

f i n d i n g s o r r e c o m m e n d a t i o n s t o w h i c h o b j e c t i o n i s made."            28 U.S.C.

§ 636(b)(1).              Absent o b j e c t i o n ,       t h e Court        "may a c c e p t ,      reject, or

m o d i f y , i n w h o l e o r i n p a r t , t h e f i n d i n g s o r r e c o m m e n d a t i o n s made b y

the magistrate judge."                    I d . Because P l a i n t i f f         o b j e c t s t o each o f t h e

Magistrate          Judge's c o n c l u s i o n s o f l a w , t h e C o u r t             s h o u l d r e v i e w de

novo D e f e n d a n t ' s    motion t o dismiss.

III.     Sexual O r i e n t a t i o n D i s c r i m i n a t i o n

         In      his         Second         Amended            Complaint,             Plaintiff             alleges

discrimination               i n violation         of Title         V I I b a s e d on h i s s e x , s e x u a l

o r i e n t a t i o n , a n d f a i l u r e t o c o n f o r m t o g e n d e r s t e r e o t y p e s [Doc. 1 0 ] .

The e x t e n t o f D e f e n d a n t ' s    objection t o this claim i s that                          "Plaintiff

cannot s t a t e a v i a b l e c l a i m f o r r e l i e f under e s t a b l i s h e d l a w because

Title         V I I does        not protect              Plaintiff           ( o r anyone           else)        from

d i s c r i m i n a t i o n due t o h i s s e x u a l o r i e n t a t i o n "       [Doc. 13 a t 4] .             The

M a g i s t r a t e Judge a g r e e d o n t h e b a s i s o f p u r p o r t e d b i n d i n g           precedent

in this        circuit.

         I n Blum V . G u l f O i l Corp., 597 F.2d 936, 938 ( 5 t h C i r . 1 9 7 9 ) ,

the    court      held:       "Discharge           f o r homosexuality             i s n o t p r o h i b i t e d by

T i t l e V I I . . . ."^             I n Bonner v . C i t y o f P r i c h a r d ,            6 6 1 F.2d 1206,



          ^ P o t e n t i a l l y u n d e r m i n i n g Blum's h o l d i n g , t h e F i f t h * C i r c u i t b a s e d
i t e n t i r e l y o n S m i t h v . L i b e r t y M u t u a l I n s u r a n c e Co., 569 F.2d 325
 ( 5 t h C i r . 1 9 7 8 ) , w h i c h i s a r g u a b l y "no l o n g e r good law" i n t h e wake
o f P r i c e W a t e r h o u s e v . H o p k i n s , 490 U.S. 228 (1989) . See W i n s t e a d v .
L a f a y e t t e C t y . Bd. o f C t v . Comm'rs, No. 1:16CV00054-MW-GRJ, 2016 WL
3 4 4 0 6 0 1 , a t *6 n.4 (N.D. F l a . June 20, 2016) ( " [ S m i t h ' s ] h o l d i n g v i s -
a - v i s d i s c r i m i n a t i o n on t h e b a s i s o f s e x s t e r e o t y p i n g has c l e a r l y
b e e n a b r o g a t e d b y s u b s e q u e n t Supreme C o u r t c a s e s . " ) . A l s o , a t l e a s t

                                                           4
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1207     (llth      C i r . 1981) , t h e U n i t e d S t a t e s C o u r t o f A p p e a l s            f o r the

E l e v e n t h C i r c u i t a d o p t e d as b i n d i n g p r e c e d e n t a l l d e c i s i o n s r e n d e r e d

by t h e U n i t e d S t a t e s Court o f Appeals                f o r the Fifth Circuit prior t o

September 30,             1981.

        The q u e s t i o n w h e t h e r Blum i s c u r r e n t l y b i n d i n g a u t h o r i t y         arose

recently        i n a case o n a p p e a l i n t h e E l e v e n t h C i r c u i t ,            Evans v . Ga.

Regional         Hospital          (2016) (No.          15-15234) .            At     oral       argument         on

December        15, 2 016,         a member o f t h e p a n e l              suggested         that     Blum i s

binding authority               i nthe Eleventh C i r c u i t             a t present.            I nlight of

t h e p e n d i n g E l e v e n t h C i r c u i t d e c i s i o n on t h e v e r y q u e s t i o n p r e s e n t e d

h e r e , t h e C o u r t w i l l d e f e r i t s d e c i s i o n o n t h e o b j e c t i o n s t o t h e R&R.

IV.      Conclusion

        For     t h e reasons          stated      above.       Defendant's           Motion       t o Dismiss

[Doc. 1 3 ] , t h e R&R           [Doc. 1 6 ] , a n d P l a i n t i f f ' s       objections          [Doc.       18]

a r e a l l DEFERRED p e n d i n g t h e E l e v e n t h C i r c u i t ' s d e c i s i o n i n Evans.



        SO ORDERED, t h i s              ^       day o f F e b r u a r y , 2017.




                                             ORINDA D. EVANS
                                             UNITED STATES DISTRICT JUDGE




t w o d i s t r i c t c o u r t s i n t h i s c i r c u i t have r e c e n t l y d e t e r m i n e d t h a t
T i t l e V I I p r o t e c t s employees f r o m d i s c r i m i n a t i o n b a s e d upon t h e i r
sexual o r i e n t a t i o n .    See W i n s t e a d , 2016 WL 3440601, a t *7-8; I s a a c s
V . F e l d e r S e r v s . , LLC, 143 F. Supp. 3 d 1190 (M.D. A l a . 2 0 1 5 ) .


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